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 5    Attorney for Defendant
      MONIQUE LE NGUYEN
 6
 7
 8
 9                    UNITED STATES DISTRICT COURT FOR THE
10                       EASTERN DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,  )        Case No. 1:07CR316 LJO
12                               )
           Plaintiff,            )
13                               )
           vs.                   )        STIPULATION TO CHANGE
14                               )        RECOMMENDED DESIGNATION AT
      MONIQUE LE NGUYEN,         )        BUREAU OF PRISONS
15                               )
           Defendant.            )
16    ___________________________)
17
            On December 7, 2010, the Court sentenced Monique Le
18
      Nguyen to 20-months at the bureau of prisons and recommended
19
      Ms. Nguyen be sent to a medical facility-priority due to
20
      several health concerns articulated at the sentencing hearing.
21
      35-days have elapsed since the Court made the medical facility
22
      recommendation.
23
            The parties stipulate that the Court may change the
24
      recommendation for placement from a medical facility to
25
      Dublin, FCI depending on space availability, security and
26
      classification.
27
28
                                          1
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 1             I hereby agree to the above stipulation.
 2    Dated: January 11, 2011
 3                                        s/J.M. Irigoyen
 4                                      _________________________
                                           by: J.M. Irigoyen
 5                                         Attorney for Defendant
 6
 7
 8             I hereby consent to the above stipulation.
 9    DATED: January 11, 2011
                                          s/ Karen Escobar
10
                                          _________________________
11                                        by: Karen Escobar
12                                        Assistant U.S. Attorney

13
14
                               ORDER ADOPTING STIPULATION
15
16    The Court makes the recommendation pursuant to the
17    stipulation, but by doing so does not in any way suggest that
      it is in a better position to suggest diagnosis or treatment.
18
      IT IS SO ORDERED.
19
20    Dated:     January 13, 2011             /s/ Lawrence J. O'Neill
      b9ed48                              UNITED STATES DISTRICT JUDGE
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24
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                                           2
